Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 1 of 29



                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

    FEDERAL TRADE COMMISSION,
                                                            Case No.: 18-cv-62593-DPG
                   Plaintiff,

           vs.
                                                            AMENDED COMPLAINT FOR
    SIMPLE HEALTH PLANS LLC, a Florida limited              PERMANENT INJUNCTION AND
    liability company;                                      OTHER EQUITABLE RELIEF

    HEALTH BENEFITS ONE LLC, a Florida limited
    liability company, also d/b/a Health Benefits Center,
    Simple Health, Simple Health Plans, Simple
    Insurance, Simple Insurance Plans, Simple Auto,
    Simple Home, Simple Home Plans, Simple Care,
    Simple Life, and National Dental Savings;

    HEALTH CENTER MANAGEMENT LLC, a
    Florida limited liability company;

    INNOVATIVE CUSTOMER CARE LLC, a Florida
    limited liability company;

    SIMPLE INSURANCE LEADS LLC, a Florida
    limited liability company, also d/b/a Health
    Insurance Services;

    SENIOR BENEFITS ONE LLC, a Florida limited
    liability company;

    STEVEN J. DORFMAN, individually and as an
    officer, member, or manager of SIMPLE HEALTH
    PLANS LLC, HEALTH BENEFITS ONE LLC,
    HEALTH CENTER MANAGEMENT LLC,
    INNOVATIVE CUSTOMER CARE LLC, SIMPLE
    INSURANCE LEADS LLC, and SENIOR
    BENEFITS ONE LLC; and

    CANDIDA L. GIROUARD, individually and as an
    officer or manager of SIMPLE HEALTH PLANS
    LLC, HEALTH BENEFITS ONE LLC, HEALTH
    CENTER MANAGEMENT LLC, INNOVATIVE
    CUSTOMER CARE LLC, SIMPLE INSURANCE
    LEADS LLC, and SENIOR BENEFITS ONE LLC;




                                                                                        Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 2 of 29




                   Defendants.


           Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:

           1.      The FTC brings this action under Sections 13(b) and 19 of the Federal Trade

    Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, and the Telemarketing and

    Consumer Fraud and Abuse Act (“Telemarketing Act”), 15 U.S.C. §§ 6101-6108, to obtain

    temporary, preliminary, and permanent injunctive relief, rescission or reformation of contracts,

    restitution, the refund of monies paid, disgorgement of ill-gotten monies, and other equitable

    relief for Defendants’ acts or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C.

    § 45(a), and in violation of the FTC’s Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310, as

    amended.

                                    JURISDICTION AND VENUE

           2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

    and 1345, and 15 U.S.C. §§ 45(a), 53(b), 6102(c), and 6105(b).

           3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1)-(3), (c)(1)-(2), and

    (d), and 15 U.S.C. § 53(b).

                                              PLAINTIFF

           4.      The FTC is an independent agency of the United States Government created by

    statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act, 15 U.S.C. § 45(a),

    which prohibits unfair or deceptive acts or practices in or affecting commerce. The FTC also

    enforces the Telemarketing Act, 15 U.S.C. §§ 6101-6108, as amended. Pursuant to the

    Telemarketing Act, the FTC promulgated and enforces the TSR, 16 C.F.R. Part 310, as amended,

    which prohibits deceptive and abusive telemarketing acts or practices.



                                                     2
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 3 of 29



           5.      The FTC is authorized to initiate federal district court proceedings, by its own

    attorneys, to enjoin violations of the FTC Act and the TSR, and to secure such equitable relief as

    may be appropriate in each case, including rescission or reformation of contracts, restitution, the

    refund of monies paid, and the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 57b,

    6102(c), and 6105(b).

                                             DEFENDANTS

                                         Corporate Defendants

           6.      Simple Health Plans LLC is a Florida limited liability company with its principal

    place of business at 2 Oakwood Boulevard, Suite 100, Hollywood, Florida 33020. Simple

    Health Plans transacts or has transacted business in this district and throughout the United States.

    At all times material to this Complaint, acting alone or in concert with others, Simple Health

    Plans has advertised, marketed, distributed, or sold limited benefit plans and medical discount

    memberships to consumers throughout the United States.

           7.      Health Benefits One LLC, also doing business as Health Benefits Center, Simple

    Health, Simple Health Plans, Simple Insurance, Simple Insurance Plans, Simple Auto, Simple

    Home, Simple Home Plans, Simple Care, Simple Life, and National Dental Savings, is a Florida

    limited liability company with its principal place of business at 2 Oakwood Boulevard, Suite

    100, Hollywood, Florida 33020. Health Benefits One transacts or has transacted business in this

    district and throughout the United States. At all times material to this Complaint, acting alone or

    in concert with others, Health Benefits One has advertised, marketed, distributed, or sold limited

    benefit plans and medical discount memberships to consumers throughout the United States.

           8.      Health Center Management LLC is a Florida limited liability company with its

    principal place of business at 2 Oakwood Boulevard, Suite 100, Hollywood, Florida 33020.



                                                     3
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 4 of 29



    Health Center Management is a manager of Simple Health Plans LLC and Senior Benefits One

    LLC. Health Center Management transacts or has transacted business in this district and

    throughout the United States. At all times material to this Complaint, acting alone or in concert

    with others, Health Center Management has advertised, marketed, distributed, or sold limited

    benefit plans and medical discount memberships to consumers throughout the United States.

           9.      Innovative Customer Care LLC is a Florida limited liability company with its

    principal places of business at 3389 Sheridan Street #632, Hollywood, Florida 33021, and 2

    Oakwood Boulevard, Suite 100, Hollywood, Florida 33020. Innovative Customer Care transacts

    or has transacted business in this district and throughout the United States. At all times material

    to this Complaint, acting alone or in concert with others, Innovative Customer Care has

    advertised, marketed, distributed, or sold limited benefit plans and medical discount

    memberships to consumers throughout the United States.

           10.     Simple Insurance Leads LLC, also doing business as Health Insurance Services, is

    a Florida limited liability company with its principal place of business at 2 Oakwood Boulevard,

    Suite 100, Hollywood, Florida 33020. Simple Insurance Leads transacts or has transacted

    business in this district and throughout the United States. At all times material to this Complaint,

    acting alone or in concert with others, Simple Insurance Leads has advertised, marketed,

    distributed, or sold limited benefit plans and medical discount memberships to consumers

    throughout the United States.

           11.     Senior Benefits One LLC is a Florida limited liability company with its principal

    place of business at 2 Oakwood Boulevard, Suite 100, Hollywood, Florida 33020. Senior

    Benefits One transacts or has transacted business in this district and throughout the United

    States. At all times material to this Complaint, acting alone or in concert with others, Senior



                                                     4
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 5 of 29



    Benefits One has advertised, marketed, distributed, or sold limited benefit plans and medical

    discount memberships to consumers throughout the United States.

                                           Individual Defendants

            12.     Defendant Steven J. Dorfman is an owner, officer, member, or manager of Simple

    Health Plans LLC, Health Benefits One LLC, Health Center Management LLC, Innovative

    Customer Care LLC, Simple Insurance Leads LLC, and Senior Benefits One LLC. At all times

    material to this Complaint, acting alone or in concert with others, he has formulated, directed,

    controlled, had the authority to control, or participated in the acts and practices set forth in this

    Complaint. For example, Dorfman manages Defendants’ operations, serves as an officer for

    several of the corporate defendants, and is a signatory on corporate bank accounts. Dorfman

    resides in this district and, in connection with the matters alleged herein, transacts or has

    transacted business in this district and throughout the United States.

            13.     Defendant Candida L. Girouard is an officer or manager of Simple Health Plans

    LLC, Health Benefits One LLC, Health Center Management LLC, Innovative Customer Care

    LLC, Simple Insurance Leads LLC, and Senior Benefits One LLC. At all times material to this

    Complaint, acting alone or in concert with others, she has formulated, directed, controlled, had

    the authority to control, or participated in the acts and practices set forth in this Complaint. For

    example, Girouard has drafted and approved Defendants’ deceptive sales, verification, and

    customer service scripts; reviewed and approved lead generation websites; managed Defendants’

    customer service and compliance teams, including by reviewing recorded sales and customer

    service phone calls; negotiated and signed contracts and litigation settlement agreements; and

    responded to consumer complaints regarding misrepresentations lodged with the Better Business

    Bureau and government regulators. Girouard actively concealed deceptive business practices



                                                       5
                                                                                                    Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 6 of 29



    from government regulators, including by lying under oath about the existence of recorded sales

    calls. Girouard resides in this district and, in connection with the matters alleged herein,

    transacts or has transacted business in this district and throughout the United States.

                                           Common Enterprise

           14.     Defendants Simple Health Plans LLC, Health Benefits One LLC, Health Center

    Management LLC, Innovative Customer Care LLC, Simple Insurance Leads LLC, and Senior

    Benefits One LLC, (collectively, “Corporate Defendants”) have operated as a common enterprise

    while engaging in the deceptive acts and practices and other violations of law alleged below.

    Corporate Defendants have conducted the business practices described below through

    interrelated companies, which have common ownership, officers, managers, business functions,

    and office locations, which have commingled assets, and which hold themselves out as Simple

    Health. Because these Corporate Defendants have operated as a common enterprise, each of

    them is jointly and severally liable for the acts and practices alleged below. Defendants Dorfman

    and Girouard have formulated, directed, controlled, had the authority to control, or participated

    in the acts and practices of the Corporate Defendants that constitute the common enterprise.

                                              COMMERCE

           15.     At all times material to this Complaint, Defendants have maintained a substantial

    course of trade in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,

    15 U.S.C. § 44.

                              DEFENDANTS’ BUSINESS PRACTICES

                                                 Overview

           16.     Since at least October 2013, online and primarily through outbound telemarketing

    calls, Defendants claim to offer consumers comprehensive health insurance or its equivalent.



                                                      6
                                                                                                   Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 7 of 29



    Defendants lead consumers to believe that they will receive a “PPO” health insurance policy

    that, for a nominal copay, will cover preexisting medical conditions, prescription drug

    medications, primary and specialty care treatment, inpatient and emergency hospital care,

    surgical procedures, and medical and laboratory testing.

           17.     The products sold by Defendants to consumers are not, in fact, comprehensive

    health insurance and do not provide consumers with the benefits promised by Defendants.

    Instead, Defendants typically enroll consumers in an assortment of different programs, including:

    (1) limited benefit plans, also known as limited benefit indemnity plans and hospital indemnity

    plans; and (2) medical discount and wellness program memberships.

           18.     Comprehensive health insurance plans generally involve an arrangement between

    an insurance company and a consumer in which the company agrees to pay a substantial portion

    of the healthcare expenses that the consumer might incur in exchange for consumers’ premium

    payments. This has the effect of transferring some of the policyholder’s risk to the insurance

    company.

           19.     A PPO plan, also known as a preferred provider organization plan, is a type of

    comprehensive health insurance consisting of medical doctors, hospitals, and other health care

    providers who have agreed with an insurer or a third-party administrator to provide health care at

    reduced rates to the insurer’s or the administrator’s clients.

           20.     Limited benefit plans, by contrast, provide non-comprehensive coverage capped

    at a specific amount for a specific service, treatment, condition, or disease. Limited benefit plans

    do not have the effect of transferring enrollees’ risk to a third party. Instead, Defendants incur

    no risk whatsoever when a customer enrolls in one of their limited benefit plans.




                                                      7
                                                                                                Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 8 of 29



           21.      In the past three years alone, Defendants’ scheme has generated over $100 million

    in revenue. Unfortunately, Defendants’ scheme also has left tens of thousands of consumers who

    thought they had purchased comprehensive health insurance without such coverage. In addition

    to paying monthly “premiums” for Defendants’ limited benefit plans and medical discount

    memberships, many of these consumers have incurred substantial medical expenses under the

    mistaken belief that these expenses would be covered by the health insurance they thought they

    had obtained from Defendants.

                      Defendants Target Consumers In Need of Health Insurance

           22.      Defendants prey on consumers who are seeking comprehensive health insurance.

    These consumers typically either do not have health insurance or pay high premiums for their

    insurance because they have lost their jobs, are unemployed or self-employed, or have lost their

    group or individual health insurance.

           23.      In their advertising and promotional materials, including on their websites,

    Defendants falsely claim to offer a vast selection of comprehensive health care insurance policies

    from “the top carriers in every state.” On their primary consumer-facing website,

    www.simplehealthplans.com, Defendants falsely claim to have “assembled a diverse portfolio of

    superior health insurance products from leading health insurance carriers, each carefully selected

    based on its ability to provide exceptional value and coverage to our customers.”

           24.      Defendants also falsely hold themselves out as experts on, and providers of,

    government-sponsored health insurance policies, such as those offered pursuant to Medicare and

    the Patient Protection and Affordable Care Act (“ACA” or “Affordable Care Act”), 42 U.S.C. §

    18001 et seq.




                                                     8
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 9 of 29



           25.     Defendants tout their purported ACA expertise in their marketing materials and in

    statements promoting their business. On their main website, for example, Defendants falsely

    claim that their “one objective” is to “help consumers through the complexities of the Affordable

    Care Act.” In a newspaper interview, a company spokesperson stated that Defendants could

    provide better advice to consumers about health insurance options than an ACA-certified

    “navigator” because Defendants “have the freedom to help the consumer figure out what’s in

    their best interest.” An ACA navigator is an individual or organization trained to help consumers

    look for health coverage options available through the ACA. Navigators are required to be

    unbiased, and their services are free to consumers.

           26.     Defendants also use the ACA as an employee recruitment tool, promising that

    prospective employees “WILL HAVE MONEY THROWN AT YOU” during “open

    enrollment.” Beneath an image of a cigar-smoking individual tossing a wad of cash, one of

    Defendants’ job postings states: “If you are not making money hand over first [sic] this open

    enrollment you are not making the most of your time left on this earth. Well guess what… here

    is your golden opportunity to MAKE THAT MONEY!” See Image A below. Under the ACA,

    “open enrollment” is a window during which individuals or employees may add or drop their

    health insurance, or make changes to their coverage. This term has no applicability to the limited

    benefit plans and medical discount memberships sold by Defendants.




                                                    9
                                                                                              Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 10 of
                                      29




                                              Image A

          27.    In fact, Defendants are not experts on, and do not provide, government-sponsored,

   ACA-compliant health insurance policies.

          28.    In some of their advertising materials and campaigns, Defendants falsely claim to

   be affiliated with AARP and the Blue Cross Blue Shield Association. Defendants are not

   affiliated with AARP or the Blue Cross Blue Shield Association.




                                                 10
                                                                                          Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 11 of
                                      29


          29.     Defendants advertise their limited benefit plans and discount memberships

   primarily through a network of lead generation websites. Defendants own some of these sites

   themselves, and also pay lead generators for leads generated on third-party sites. Consumers

   typically find these websites by conducting internet searches for health insurance.

          30.     The third-party lead generation sites typically claim to provide information about

   obtaining comprehensive health insurance, including insurance available through the

   marketplaces established pursuant to the ACA. In many cases, the sites refer to the ACA and

   Medicare and use terms associated with the ACA, such as “Obamacare” and the “Obamacare

   Marketplace.” The sites also feature the branded logos of well-known insurance carriers, such as

   Blue Cross Blue Shield. See Images B and C below.




                                                   11
                                                                                            Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 12 of
                                      29




                              Image B (third-party site)
                               www.official-plans.com




                                         12
                                                                        Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 13 of
                                      29




                                     Image C (third-party site)
                                     www.obamacare-plans.com

          31.     Many consumers who submit their names and telephone numbers to the third-

   party lead generation sites believe that they will receive information about comprehensive health

   insurance plans, including government-sponsored policies like those offered pursuant to the

   ACA. Defendants then purchase this consumer information from the operators of the third-party

   lead generation websites such as those described above in Paragraph 30.

          32.     Defendants also operate their own lead generation websites on which they

   promise to connect consumers with licensed insurance agents who purportedly will provide

   consumers with information about health insurance plans. For example, one of Defendants’ lead

   generation websites, www.trumpcarequotes.com, claims to offer “Health Insurance for Smart

   People” from “the Nation’s Leading Carriers” at “Low Affordable Premiums” with




                                                  13
                                                                                             Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 14 of
                                      29


   “Prescription Drug Coverage.” The site features the branded logos of several major health

   insurance carriers, including Anthem BlueCross. See Image D below.




                                      Image D (Defendants’ site)
                                      www.trumpcarequotes.com

          33.     Another one of Defendants’ lead generation websites warns that consumers who

   do not have health insurance will “[f]ace a substantial tax penalty.” This site claims that

                                                   14
                                                                                                 Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 15 of
                                      29


   uninsured consumers “will pay an average Obamacare penalty of almost $1000,” cautions that

   this amount “is likely to increase in the coming year,” and advises consumers to “[a]void these

   penalties by getting insured today.” See Image E below.




                                    Image E (Defendants’ site)
                               www.healthinsurancedeadline2018.com

                                                  15
                                                                                            Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 16 of
                                      29


          34.     Under the ACA, individuals who can afford health insurance, but choose not to

   buy it, are required to pay a fee. Because Defendants’ limited benefit plans and discount

   memberships do not qualify as health insurance under the ACA, consumers who participate in

   Defendants’ plans will still be subject to this ACA fee.

          35.     Defendants also operate multiple lead generation websites on which they falsely

   claim to sell Medicare health insurance policies. These sites include www.simplemedicare.com,

   which promotes “Medicare Health Plans for Your Needs and Budget” and invites consumers to

   “Learn about Medicare and Choose a Plan with Confidence.” See Image F below. Defendants

   also operate www.usamedsupp.org, which features the AARP logo and encourages consumers to

   “Compare Medicare Quotes…in three simple steps.” See Image G below.




                                      Image F (Defendants’ site)
                                        www.simplecare.com

                                                   16
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 17 of
                                      29




                                      Image G (Defendants’ site)
                                        www.usamedsupp.org

          36.     Some consumers learn about Defendants’ lead generation websites through email

   and text message solicitations containing links to these sites. Defendants pay third parties to

   disseminate these emails and text messages. One such message encourages consumers to “[t]ake

   advantage of open enrollment and find a carrier near you.” As noted above in Paragraph 26,

   “open enrollment” is a term associated with the ACA that does not apply to the type of products

   sold by Defendants.

                    Defendants Claim to Sell Comprehensive Health Insurance

          37.     Defendants engage in both outbound and inbound telemarketing with potential

   customers. Consumers who submit their contact information to one of Defendants’ lead


                                                   17
                                                                                              Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 18 of
                                      29


   generation websites subsequently receive a call from one of Defendants’ telemarketers.

   Consumers also may contact Defendants directly by calling one of the toll-free numbers

   displayed on Defendants’ lead generation websites. In both cases, consumers speak to one of

   Defendants’ telemarketers, who typically identify themselves as an insurance agent licensed in

   the consumer’s state. In some instances, consumers first speak to a pre-qualification

   representative, who gathers personal background information about the consumer before

   transferring the call to another telemarketer purportedly licensed to sell insurance. In many

   instances, these telemarketers are not, in fact, properly licensed insurance agents.

          38.     Defendants record sales and customer service calls with consumers, and they save

   these recordings. To mislead regulatory authorities, however, Defendants claim that such

   recordings either do not exist or are not maintained.

          39.     In calls with consumers, Defendants’ telemarketers claim that for a one-time

   enrollment fee ranging from approximately $60 to $175 and a monthly payment ranging from

   approximately $40 to $500, Defendants can provide consumers with a “PPO” health insurance

   plan. Defendants claim that, like comprehensive health insurance, their plan will cover

   preexisting medical conditions, prescription medication, hospitalization, lab work and access to

   primary care physicians, specialists, and other healthcare providers for a nominal copayment.

          40.     In many instances, Defendants’ telemarketers have referred to the monthly

   payments consumers must make as “premiums” and have used other insurance terms of art in

   their sales pitches, such as “PPO,” “copay,” “deductible,” “coverage,” and “preexisting

   condition.” These terms have no relevance to the limited benefit plans and discount

   memberships sold by Defendants.




                                                    18
                                                                                             Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 19 of
                                      29


          41.     Defendants often tell consumers that the purported “PPO” health insurance plan is

   widely accepted by doctors in the consumers’ geographical areas or that it is accepted by

   virtually all, or the vast majority of, doctors in the country. However, when consumers look for

   a covered provider after purchasing what they believe to be a “PPO” health insurance plan, many

   discover that the limited benefit plan is not accepted by their providers or that the available

   discounts are negligible.

          42.     In some instances, Defendants’ telemarketers falsely claim that their “PPO”

   health insurance plan is a qualified health plan under the ACA. A “qualified health plan”

   provides essential health benefits, follows established limits on cost-sharing (like deductibles,

   copayments, and out-of-pocket maximum amounts), and meets other requirements under the

   ACA. All qualified health plans meet the ACA requirement for having health coverage, known

   as “minimum essential coverage.”

          43.     If consumers ask for written information about Defendants’ plan before buying it,

   telemarketers often refuse to provide it, stating that they either are not allowed to provide such

   information or are not capable of providing it.

          44.     Defendants often claim that their “PPO” health insurance plan is at least as good

   as comprehensive health insurance because it offers comparable coverage at a lower price, and

   without deductibles.

          45.     Once consumers express interest in purchasing Defendants’ “PPO” health

   insurance plan — believing it to be, based on the telemarketers’ misrepresentations, actual

   comprehensive health insurance — Defendants’ telemarketers arrange for payment by asking for

   the consumers’ debit card or credit card information.




                                                     19
                                                                                                Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 20 of
                                      29


          46.     After taking consumers’ payment information, Defendants’ telemarketers transfer

   consumers to a different employee, who guides consumers through a “verification” process.

   Before transferring them, however, Defendants’ telemarketers often instruct consumers to

   disregard any statements in the post-sale “verification” process that indicate that consumers will

   not be receiving comprehensive health insurance that covers preexisting medical conditions.

          47.     During verification, consumers are asked to confirm a series of complex, lengthy

   statements that are either read by the verification employee or transmitted electronically by email

   or text message. Consumers are cautioned not to ask any questions during verification or they

   will be transferred back to the sales representative, where the entire sales process will start over

   again. Telemarketers frequently instruct consumers to disregard verification statements that are

   inconsistent with Defendants’ sales pitch. For these reasons, consumers often feel pressured to

   agree with all of the verification statements, even if they conflict with representations made by

   the sales representative or if the consumers do not understand or actually agree with the

   verification statements. Moreover, consumers who choose to receive the disclosures

   electronically must review and “e-sign” them on their devices prior to completing verification.

   On mobile devices, these disclosures are rendered in pages of small, barely legible text. See

   Image H below.




                                                    20
                                                                                                Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 21 of
                                      29




                                               Image H

          48.     Many of Defendants’ deceptive sales tactics are evident in recorded undercover

   transactions conducted by Plaintiff. In one such transaction, an FTC investigator stated clearly

   that he wanted to obtain major medical insurance, had no interest in purchasing a medical

   discount membership, and claimed to have three preexisting medical conditions, including

   diabetes. Defendants’ telemarketer informed the FTC’s investigator that he qualified for a

   “PPO” health insurance plan that provided coverage for preexisting medical conditions, had no



                                                   21
                                                                                             Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 22 of
                                      29


   “deductibles,” and included prescription drug coverage. Under this plan, according to the

   telemarketer, the investigator would pay no more than $25 to see his physicians and $4 to $12 to

   fill a prescription for a specific diabetes medication. As discussed below, the limited benefit

   plans actually sold by Defendants do not provide any of the promised benefits.

       Defendants Actually Sell Limited Benefit Plans and Medical Discount Memberships

          49.     As noted above, Defendants’ limited benefit plans and medical discount

   memberships are not, in fact, comprehensive health insurance and do not provide consumers

   with the benefits promised in Defendants’ sales pitch. For example, a typical limited benefit

   plan sold by Defendants to consumers pays only $50 toward physician visits – capped at three

   visits per calendar year – and a maximum of $100 per day for hospitalization. Moreover, despite

   assurances to the contrary made by Defendants’ telemarketers, these plans provide no coverage

   for preexisting medical conditions or prescription medications.

          50.     In addition, the medical discount and wellness memberships sold by Defendants

   at best merely provide consumers with access to various pre-negotiated discounts from third

   parties, only some of which relate to healthcare. In addition to prescription medications, for

   example, these discounts allegedly also apply to identity theft protection, cell phone service,

   flowers, vitamins, travel, car rental and purchase, diet and exercise programs, magazine

   subscriptions, pet insurance and medications, dining, and movie tickets. Other membership

   programs allegedly offer thousands of dollars’ worth of benefits consisting of access to “wellness

   specialists,” “life extension naturopaths,” and “comprehensive education lifestyle coaching.”

          51.     There is a vast difference between what Defendants promise consumers and what

   consumers actually get. For example, in the undercover transaction described in Paragraph 48

   above, Defendants sold the FTC investigator a limited benefit plan rather than the promised



                                                   22
                                                                                              Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 23 of
                                      29


   comprehensive health insurance. This plan would not have paid any of the costs associated with

   a routine office visit for the physicians identified by the investigator as his primary care doctors.

   It also would have required the investigator to pay $850-$900 to fill a prescription for a diabetes

   drug that the telemarketer claimed would cost $4 to $12.

         Tens of Thousands of Consumers Have Been Harmed by Defendants’ Practices

          52.     Many consumers purchase Defendants’ plans believing them to be comprehensive

   medical insurance. Consumers report that Defendants’ telemarketers specifically claim to offer

   “PPO” health insurance plans or qualified health plans under the ACA. Consumers rely on these

   representations in agreeing to purchase Defendants’ limited benefit plans and medical discount

   memberships.

          53.     Many consumers pay Defendants enrollment fees and substantial monthly

   payments for what they believe to be comprehensive health insurance. Consumers have reported

   paying $500 or more per month for Defendants’ plans, which do not provide the promised

   insurance.

          54.     Many consumers have been unable to use the limited benefit plans and discount

   memberships for healthcare services typically covered by health insurance. Consumers

   frequently do not realize they are uninsured until after incurring substantial medical expenses,

   often under the mistaken belief that these expenses will be covered by the insurance they thought

   they had purchased from Defendants. For example, one consumer received $61,000 in hospital

   bills, none of which were covered by the policy that Defendants sold to her, despite assurances to

   the contrary by Defendants’ telemarketer.

          55.     When consumers have contacted Defendants to complain, cancel their plans or

   memberships, and seek refunds, Defendants have routinely ignored their requests. Some



                                                    23
                                                                                                Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 24 of
                                      29


   consumers have received refunds only after directly requesting them from the third-party

   administrator of the plans and memberships or after seeking the assistance of the Better Business

   Bureau or law enforcement agencies. Many of the consumers have received only partial refunds.

                                  VIOLATIONS OF THE FTC ACT

          56.     Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

   or practices in or affecting commerce.”

          57.     Misrepresentations or deceptive omissions of material fact constitute deceptive

   acts or practices prohibited by Section 5(a) of the FTC Act.

                                              Count I
                           Misrepresentations in Violation of the FTC Act

          58.     In numerous instances, in connection with the advertising, marketing, promoting,

   offering for sale, or sale of limited benefit plans and medical discount memberships, Defendants

   represent, directly or indirectly, expressly or by implication, that:

                  a. Defendants’ limited benefit plans and medical discount memberships are

                      comprehensive health insurance, or the equivalent of such insurance;

                  b. Defendants’ limited benefit plans and medical discount memberships are

                      qualified health plans under the Affordable Care Act;

                  c. Defendants are experts on, or providers of, government-sponsored health

                      insurance policies, such as those offered pursuant to Medicare and the

                      Affordable Care Act; or

                  d. Defendants are affiliated with AARP or the Blue Cross Blue Shield

                      Association.

          59.     In truth and in fact:




                                                     24
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 25 of
                                      29


                  a. Defendants’ limited benefit plans and medical discount memberships are not

                      comprehensive health insurance, or the equivalent of such insurance;

                  b. Defendants’ limited benefit plans and medical discount memberships are not

                      qualified health plans under the Affordable Care Act;

                  c. Defendants are not experts on, or providers of, government-sponsored health

                      insurance policies, including policies offered under Medicare or the

                      Affordable Care Act; or

                  d. Defendants are not affiliated with AARP or the Blue Cross Blue Shield

                      Association.

          60.     Therefore, Defendants’ representations, as set forth in Paragraph 58, above, are

   false and misleading and constitute deceptive acts or practices in violation of Section 5(a) of the

   FTC Act, 15 U.S.C. § 45(a).

                              THE TELEMARKETING SALES RULE

          61.     Congress directed the FTC to prescribe rules prohibiting abusive and deceptive

   telemarketing acts or practices pursuant to the Telemarketing Act, 15 U.S.C. §§ 6101-6108. The

   FTC adopted the original TSR in 1995, extensively amended it in 2003, and amended certain

   provisions thereafter. 16 C.F.R. Part 310.

          62.     Defendants are “seller[s]” or “telemarketer[s]” engaged in “telemarketing” as

   defined by the TSR, 16 C.F.R. § 310.2(dd), (ff), (gg). A “seller” means any person who, in

   connection with a telemarketing transaction, provides, offers to provide, or arranges for others to

   provide goods or services to a customer in exchange for consideration. 16 C.F.R. § 310.2(dd).

   A “telemarketer” means any person who, in connection with telemarketing, initiates or receives

   telephone calls to or from a customer or donor. 16 C.F.R. § 310.2(ff). “Telemarketing” means a



                                                   25
                                                                                               Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 26 of
                                      29


   plan, program, or campaign which is conducted to induce the purchase of goods or services or a

   charitable contribution, by use of one or more telephones and which involves more than one

   interstate telephone call. 16 C.F.R. § 310.2(gg).

           63.     The TSR prohibits sellers and telemarketers from misrepresenting, directly or by

   implication, in the sale of goods or services, any material aspect of the performance, efficacy,

   nature, or central characteristics of the goods or services that are the subject of a sales offer.

   16 C.F.R. § 310.3(a)(2)(iii). The TSR also prohibits sellers and telemarketers from

   misrepresenting, directly or by implication, a seller’s or telemarketer’s affiliation with, or

   endorsement or sponsorship by, any person or government entity. 16 C.F.R. § 310.3(a)(2)(vii).

   Likewise, the TSR prohibits sellers and telemarketers from making any false or misleading

   statements to induce a person to pay for goods or services. 16 C.F.R. § 310.3(a)(4).

           64.     Pursuant to Section 3(c) of the Telemarketing Act, 15 U.S.C. § 6102(c), and

   Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of the TSR constitutes an

   unfair or deceptive act or practice in or affecting commerce, in violation of Section 5(a) of the

   FTC Act, 15 U.S.C. § 45(a).

                                             Count II
                        Deceptive Telemarketing Calls in Violation of the TSR

           65.     In numerous instances, in connection with the advertising, telemarketing,

   promoting, offering for sale, or sale of limited benefit plans and medical discount memberships,

   Defendants misrepresent, directly or indirectly, expressly or by implication, that:

                   a. Defendants’ limited benefit plans and medical discount memberships are

                       comprehensive health insurance, or the equivalent of such insurance;

                   b. Defendants’ limited benefit plans and medical discount memberships are

                       qualified health plans under the Affordable Care Act;


                                                     26
                                                                                                  Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 27 of
                                      29


                   c. Defendants are experts on, or providers of, government-sponsored health

                          insurance policies, such as those offered pursuant to Medicare and the

                          Affordable Care Act; or

                   d. Defendants are affiliated with AARP or the Blue Cross Blue Shield

                          Association.

           66.     The acts or practices of Defendants as described in Paragraph 65, above, are

   deceptive telemarketing acts or practices that violate the TSR, 16 C.F.R. §§ 310.3(a)(2)(iii),

   (a)(2)(vii) & (a)(4).

                                           CONSUMER INJURY

           67.     Consumers have suffered and will continue to suffer substantial injury as a result

   of Defendants’ violations of the FTC Act and the TSR. In addition, Defendants have been

   unjustly enriched as a result of their unlawful acts or practices. Absent injunctive relief by this

   Court, Defendants are likely to continue to injure consumers, reap unjust enrichment, and harm

   the public interest.

                              THIS COURT’S POWER TO GRANT RELIEF

           68.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court to grant

   injunctive and such other relief as the Court may deem appropriate to halt and redress violations

   of any provision of law enforced by the FTC. The Court, in the exercise of its equitable

   jurisdiction, may award ancillary relief, including rescission or reformation of contracts,

   restitution, the refund of monies paid, and the disgorgement of ill-gotten monies, to prevent and

   remedy any violation of any provision of law enforced by the FTC.

           69.     Section 19 of the FTC Act, 15 U.S.C. § 57b, and Section 6(b) of the

   Telemarketing Act, 15 U.S.C. § 6105(b), authorize this Court to grant such relief as the Court



                                                      27
                                                                                                   Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 28 of
                                      29


   finds necessary to redress injury to consumers resulting from Defendants’ violations of the TSR,

   including the rescission or reformation of contracts, and the refund of money.

                                        PRAYER FOR RELIEF

          70.     Wherefore, Plaintiff, pursuant to Sections 13(b) and 19 of the FTC Act, 15 U.S.C.

   §§ 53(b) and 57b, Section 6(b) of the Telemarketing Act, 15 U.S.C. § 6105(b), and the Court’s

   own equitable powers, requests that the Court:

          A.      Award Plaintiff such preliminary injunctive and ancillary relief as may be

   necessary to avert the likelihood of consumer injury during the pendency of this action and to

   preserve the possibility of effective final relief, including but not limited to, a temporary and

   preliminary injunction, asset freeze, appointment of a receiver, an evidence preservation order,

   and expedited discovery;

          B.      Enter a permanent injunction to prevent future violations of the FTC Act and the

   TSR;

          C.      Award such relief as the Court finds necessary to redress injury to consumers

   resulting from Defendants’ violations of the FTC Act and the TSR, including but not limited to,

   rescission or reformation of contracts, restitution, the refund of monies paid, and the

   disgorgement of ill-gotten monies; and




                                                    28
                                                                                                Exhibit A
Case 0:18-cv-62593-DPG Document 213-1 Entered on FLSD Docket 09/30/2019 Page 29 of
                                      29


            D.    Award Plaintiff the costs of bringing this action, as well as such other and

   additional relief as the Court may determine to be just and proper.


   Dated:          , 2019.               Respectfully submitted,

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                                                   29
                                                                                                 Exhibit A
